Case 2:08-cv-02360-CJB-JCW Document 1-7 Filed 04/29/08 Page 1 of 2

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

LYNN K. BAILEY, ET AL. CIVIL ACTION
VERSUS NO. 08-941
STATE FARM FIRE AND CASUALTY SECTION: “R”(5)
COMPANY, ET AL.

The Court has determined that plaintiffs’ claims in the captioned case will be severed into
individual suites, each addressing one distinct property.

Accordingly,

IT IS ORDERED that plaintiffs’ counsel shall, within 30 days of this order, file an
amended complaint for each plaintiff and that plaintiff's individual property claim. This
pleading shall be filed with the Clerk on paper, not electronically. The caption of the Amended
Complaint shall contain only the individual plaintiff(s) and defendant(s) which are the subject of
that specific claim. It shall also be accompanied by a copy of the original complaint or Notice of
Removal and a copy of this order. Upon filing, the Clerk will assign anew docket number and
will allot it at random among the judges of this court. All pleadings regarding that claim shall
thereafter bear the new title, docket number, and section of the new case.

IT IS FURTHER ORDERED that plaintiffs shall serve each new amended complaint, a
copy of the original complaint or Notice of Removal and a copy of this order on opposing

counsel and on each defendant not yet having appeared in the litigation.
Case 2:08-cv-02360-CJB-JCW Document 1-7 Filed 04/29/08. Page 2 of 2

Any substantive motions still pending in the original case must be re-filed in any newly
assigned cases to which they pertain.

Any claims not timely brought before the court by amended complaint as ordered herein ©
will be dismissed without further notice.

New Orleans, Louisiana, this 28th day of February, 2008.

° SARAH S. VANCE
UNITED STATES DISTRICT JUDGE

